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           In the United States Court of Federal Claims
                                           No. 20-1668
                                    (Filed: October 25, 2021)

 **************************************
 KELVIN ANDRE SPOTTS,                 *
                                      *
                   Plaintiff,         *
                                      *
          v.                          *
                                      *
 THE UNITED STATES,                   *
                                      *
                   Defendant.         *
 **************************************

                                             ORDER

       Kelvin Andre Spotts, an incarcerated pro se plaintiff, brings this suit for breach of
contract against the United States based upon alleged violations of a list of “Inmate Rights and
Responsibilities” he received upon his arrival to federal prison. See generally Compl., ECF No.
1. With his complaint, Mr. Spotts filed an application to proceed in forma pauperis. ECF No. 2.

        On September 23, 2021, the Court issued an order denying Mr. Spotts’ motion for leave
to proceed in forma pauperis based upon an application of 28 U.S.C. § 1915(g), which prohibits
a prisoner plaintiff from proceeding in forma pauperis if the plaintiff, while incarcerated, has had
three or more prior suits dismissed as frivolous or malicious or for failure to state a claim. See
Order at 1, ECF No. 18; 28 U.S.C. § 1915(g). Mr. Spotts’ previous litigation history prohibits
him from proceeding in forma pauperis, and thus the Court ordered him to pay the Court’s filing
fee by October 22, 2021. See Order at 3. The Court further informed Mr. Spotts that failure to
pay the fee would result in dismissal of his case for failure to prosecute. Id.

        Mr. Spotts did not pay the filing fee by the October 22, 2021 deadline. As a result, the
case is DISMISSED WITHOUT PREJUDICE for failure to prosecute pursuant to Rule 41(b)
of the Rules of the United States Court of Federal Claims. The government’s motion to dismiss,
ECF No. 9, and Plaintiff’s motion for injunctive relief, ECF No. 12, are DENIED AS MOOT.
The Clerk shall enter judgment accordingly.

       IT IS SO ORDERED.


                                                  s/ Thompson M. Dietz
                                                  THOMPSON M. DIETZ, Judge
